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                       Exhibit D
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                                                           •••
         4 hrs • ~~

 I have kept my silence for months. Initially, it
 was for my safety. Then, I decided to remain
 silent out of fear of politicizing the matter.

 But I can't keep quiet any longer.

 I want to stand up for Aaron Zelinsky, Adam
 Jed, Michael Marando, and Jonathan
 Kravis--the prosecutors on the Roger Stone trial
 who have all resigned from the case in
 response to the DOJ's interference with their
 sentencing recommendation.

 I'm standing up for them now because I was a
 juror on the case. In fact, I was the foreperson.

 I am sharing the November 22, 2019 op-ed of
                , another juror--and not just
 because he said this: "My favorite person on
 the jury was an African American woman from
             II
 Tennessee. ........\

      perfectly articulated my sentiments. I
 couldn't have written a better oiece--so I share

   (OJ      Write a comment. ..
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 his. I admired his bravery in speaking out so
 soon after the trial. Read       piece please.

 I wasn't ready. There had already been
 attempts at finding out who I was. Threats to
 expose my identity. For a moment I was afraid.

 But I don't live in fear. It is not my nature to be
 silent.

 As      asserts, "We did not convict Stone
 based on his political beliefs or his expression
 of those beliefs. We did not convict him of
 being intemperate or acting boorishly. We
 convicted him of obstructing a congressional
 investigation, of lying in five specific ways
 during his sworn congressional testimony and
 of tampering with a witness in that
 investigation."

 The prosecutors who have now resigned did a
 masterful job of laying out every element of
 every charge, backed with ample evidence. As
 foreperson, I made sure we went through every
 element, of every charge, matching the
 evidence presented in the case that led us to
 return a conviction of guilty on all 7 counts.

   @         Write a comment ...
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It pains me to see the DOJ now interfere with
the hard work of the prosecutors. They acted
with the utmost intelligence, integrity, and
respect for our system of justice.

For that, I wanted to speak up for them and ask
you to join me in thanking them for their
     .
service.




0 WASHINGTON POST· 4 MIN READ
Opinion 11 was a juror in Roger Stone's trial. I
am proud of how we came to our decision.


 [Q)       Write a comment...
